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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )
       v.                              )    CRIMINAL ACTION NO.
                                       )      2:12cr104-MHT
STEVEN P. MOCK                         )          (WO)


                          OPINION AND ORDER

       This matter is before the court on defendant Steven

P. Mock’s oral motion to reconsider the court’s earlier

ruling on cross-examination of government witness James

France regarding his involvement in a marijuana crime.

Having       reconsidered     the      matter,   it    is   ORDERED   that

defendant Steven P. Mock’s motion is granted, albeit to

a limited extent.

                                     ***

       Under Rule 608(b) of the Federal Rules of Evidence,

“the court may, on cross-examination, allow [specific

instances of a witness’s conduct] to be inquired into if

they        are   probative       of       the   character     for      ...

untruthfulness       of     ...     the    witness”;    but   “extrinsic
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evidence    is    not     admissible”        to   prove   the   specific

instance.

    Under    that    rule,    the    cross-examination          questions

“should directly concern the witness’s own conduct, not

someone else’s opinion about his conduct.                 Suppose that

the cross-examiner knows that the witness was fired by a

prior employer because the employer discovered that the

witness had falsely claimed on his job application that

he had worked for three years as a welder.                The question

‘you lied on your job application, didn't you?’ would be

proper, whereas ‘you were fired for lying on your job

application,     weren't     you?’      is    questionable....      [T]he

latter question ... is equivalent to asking ‘when your

employer fired you, he said that it was because you lied

on your job application, wasn't it?,’ a question that

seeks to import inadmissible hearsay.”                Roger Park & Tom

Lininger,   The     New    Wigmore,      A    Treatise    on    Evidence:

Impeachment and Rehabilitation § 3.3 (2013).




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    Because Rule 608(b) prohibits extrinsic evidence, the

cross-examining         attorney       may    not    “reveal[]       extrinsic

evidence    in       [the]    questioning....            For    example,    the

cross-examining attorney is seeking to show that the

witness lied about graduating from college, and asks the

witness whether the college’s records would be wrong if

they said he didn’t graduate.                 This kind of questioning

should be precluded on grounds that it reveals extrinsic

evidence....           Questions      that    assert      the    contents    of

extrinsic documents are also objectionable on grounds of

‘assuming        a     fact     not     in     evidence’        or     ‘lawyer

testifying.’”          Id.; see also United States v. Davis, 183

F.3d 231, 256-57 & n.12 (3d Cir. 1999) (witness may be

cross-examined on prior untruthfulness and dishonest on-

the-job    misconduct         but     may    not    be   cross-examined      on

employer’s           internal       investigation         confirming        the

dishonesty       nor     may    documentary          evidence        from   the

investigation be introduced to contradict the witness).

By contrast, however, “there is a certain amount of



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leakage in the rule that excludes extrinsic evidence....

[T]he existence of the evidence may become known to the

jury while documents technically prohibited as extrinsic

evidence are ... shown to the witness to refresh memory.”

Park & Lininger, supra § 3.3.

       Based on that law, the possibility of witness James

France’s having been dishonest with this court when he

earlier, outside the presence of the jury, described his

involvement in the marijuana crime is a specific instance

of conduct bearing on his character for untruthfulness

and it should be allowed to be inquired into on cross-

examination.        France’s testimony at that time, outside

the presence of the jury, viewed in the light of the

documents defense counsel subsequently produced, appear

to show, at least to some extent, a willingness to evade

the     truth.          Moreover,     during     France’s       subsequent

testimony,       this    time    before    the    jury,    in    which     he

repeatedly evaded acknowledging his fraudulent criminal

conduct during more recent years (while acknowledging



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that he had, in fact, pleaded guilty to committing that

conduct), a character for untruthfulness began to come to

light.     Viewing the two incidents together, it seems that

a pattern emerges.          The jury should have the benefit of

seeing that same pattern the court witnessed.

      Defense counsel may cross-examine France on whether

he   was    dishonest       in    court    when    he   described         his

involvement       in    the      marijuana    arrest.        The    court

emphasizes that the issue is whether France was dishonest

with the court, not whether he was convicted of a crime.

But, of course, in order to cross-examine France on

whether he was dishonest when discussing his involvement

in the crime, it may be necessary to talk about the crime

itself.      As such, defense counsel may ask France, for

example, whether he was arrested for marijuana in the

past;    whether       he   discussed     that    incident    in   court,

outside the presence of the jury; how he described the

crime and his involvement in it; and, whether he was

honest to the court when so describing.



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    Defense counsel may show France the documents in

counsel’s possession in order to refresh France’s memory,

but counsel may in no way read from the documents or

otherwise indicate to the jury what they say.                           For

example, defense counsel may not ask, “Isn’t it true that

these documents contradict your testimony?” or “Isn’t it

true that the police think you lied?” or even, “After

you’ve seen these documents, do you still stick to your

story?”     By   contrast,      an       example   of   a   permissible

question would be, “Isn’t it true that, even though you

claimed the marijuana was several pounds, it was actually

over 200 pounds?”         But defense counsel may not ask,

“Isn’t it true the police said it was over 200 pounds?”

or “Isn’t it true that these documents show that it was

over 200 pounds?”

    Although     defense      counsel       may    show     France      the

documents to refresh his memory, the documents may not be

used in any other way.        If France sees the documents and




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denies having being dishonest with the court, defense

counsel must move on.

    DONE, this the 28th day of May, 2013.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
